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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA



PRESS ROBINSON, et al.,

                     Plaintiffs,                    Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                   Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as            Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,                    Consolidated with
                                                    Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.

          EMERGENCY MOTION TO CANCEL HEARING ON REMEDY AND
                TO ENTER A SCHEDULING ORDER FOR TRIAL

       Attorney General Jeff Landry, on behalf of the State of Louisiana, Secretary of State Kyle

Ardoin, Clay Schexnayder, Speaker of the Louisiana House of Representatives, and Patrick Page

Cortez, President of the Louisiana Senate, each in their respective official capacities (collectively

“Defendants”) seek an Emergency Motion to Reset Deadlines and Request that this Matter be Set

for Trial (hereinafter, “Emergency Motion”).

                                          1.

       The Court should immediately cancel the currently scheduled remedial proceeding set for

October 3rd and set this matter for a trial on the merits with sufficient time for any appeals to be

resolved prior to the 2024 congressional elections.
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                                           2.

        The following are all causing extreme prejudice to Defendants: (1) the delay of over a

month and counting for a schedule prior to the remedial hearing on Plaintiffs’ motion for

preliminary injunction to be set (as well as Plaintiffs’ inaction absent a schedule); (2) the failure

to set a date or scheduling order for a prompt trial on the merits; and (3) the lack of jurisdiction to

commence a remedial proceeding. Defendants require a prompt decision given the impending

remedial proceeding.

                                           3.

        Defendants sought consent from Plaintiffs for the relief sought herein. Plaintiffs oppose

such relief.

                                           4.

        Defendants also contemporaneously filed a motion to expedite the decision on this motion,

seeking a ruling by September 8, 2023.

                                           5.

        Therefore, for the reasons more fully explained in Defendants’ memorandum in support,

Defendants respectfully request the Court cancel the remedial proceeding currently scheduled for

October 3-5 and set this matter for trial on the merits to be conducted with sufficient time for any

appeals prior to the 2024 congressional elections.

Dated: August 25, 2023


 /s/ John C. Walsh                                    /s/ Phillip J. Strach
 John C. Walsh, LA Bar Roll No. 24903                 Phillip J. Strach*
 SHOWS, CALL & WALSH, L.L.P                           phillip.strach@nelsonmullins.com
 Batton Rouge, LA 70821                                    Lead Counsel for Secretary Ardoin
 Ph: (225) 383-1461                                   Thomas A. Farr*
 Fax: (225) 346-5561                                  tom.farr@nelsonmullins.com
                                                      John E. Branch, III*


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 john@scwllp.com                              john.branch@nelsonmullins.com
                                              Alyssa M. Riggins*
                                              alyssa.riggins@nelsonmullins.com
                                              Cassie A. Holt*
                                              cassie.holt@nelsonmullins.com
                                              NELSON MULLINS RILEY &
                                              SCARBOROUGH LLP
                                              4140 Parklake Avenue, Suite 200
                                              Raleigh, NC 27612
                                              Ph: (919) 329-3800

                                              * admitted pro hac vice

                                              Counsel for Defendant R. Kyle Ardoin, in his
                                              official capacity as Secretary of State of
                                              Louisiana


/s/ Michael W. Mengis                         /s/ Erika Dackin Prouty
Michael W. Mengis, LA Bar No. 17994           Erika Dackin Prouty*
BAKERHOSTETLER LLP                            BAKERHOSTETLER LLP
811 Main Street, Suite 1100                   200 Civic Center Dr., Ste. 1200
Houston, Texas 77002                          Columbus, Ohio 43215
Phone: (713) 751-1600                         (614) 228-1541
Fax: (713) 751-1717                           eprouty@bakerlaw.com
Email: mmengis@bakerlaw.com
                                              Counsel for Legislative Intervenors, Clay
E. Mark Braden*                               Schexnayder, in his Official Capacity as
Katherine L. McKnight*                        Speaker of the Louisiana House of
Richard B. Raile*                             Representatives, and of Patrick Page Cortez, in
BAKERHOSTETLER LLP                            his Official Capacity as President of the
1050 Connecticut Ave., N.W., Ste. 1100        Louisiana Senate
Washington, D.C. 20036
(202) 861-1500
mbraden@bakerlaw.com
kmcknight@bakerlaw.com
rraile@bakerlaw.com
Patrick T. Lewis*
BAKERHOSTETLER LLP
127 Public Square, Ste. 2000
Cleveland, Ohio 44114
(216) 621-0200
plewis@bakerlaw.com

* Admitted pro hac vice




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                                                     Jeff Landry
                                                     Louisiana Attorney General

Jason B. Torchinsky (DC 976033)*                     /s/Angelique Duhon Freel
Phillip M. Gordon (DC 1531277)*                      Elizabeth B. Murrill (LSBA No. 20685)
Holtzman Vogel Baran                                 Shae McPhee (LSBA No. 38565)
Torchinsky & Josefiak, PLLC                          Morgan Brungard (CO Bar No. 50265)*
15405 John Marshall Highway                          Angelique Duhon Freel (LSBA No. 28561)
Haymarket, VA 20169                                  Carey Tom Jones (LSBA No. 07474)
(540) 341-8808 phone                                 Jeffrey M. Wale (LSBA No. 36070)
(540) 341-8809 fax                                   Office of the Attorney General
jtorchinsky@holtzmanvogel.com                        Louisiana Department of Justice
pgordon@holtzmanvogel.com                            1885 N. Third St.
*admitted pro hac vice                               Baton Rouge, LA 70804
                                                     (225) 326-6000 phone
                                                     (225) 326-6098 fax
                                                     murrille@ag.louisiana.gov
                                                     freela@ag.louisiana.gov
                                                     walej@ag.louisiana.gov
                                                     jonescar@ag.louisiana.gov
                                                     mcphees@ag.louisiana.gov
                                                     brungardm@ag.louisiana.gov

                                                     Counsel for Defendant, State of Louisiana




                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 25th day of August 2023, the foregoing has been filed with the
Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of record.

                                              /s/ Jeffrey M. Wale
                                              Jeffrey M. Wale




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